Case 2:19-cv-00472-JES-MRM Document 12 Filed 08/16/19 Page 1 of 2 PagelD 27

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

DAVID POSCHMANN,
Plaintiff,

V. CASE NO. 2:19-CV-00472

EVERGLADES HOSPITALITY
RESORTS, LLC,
Defendant.
/

 

ANSWER AND AFFIRMATIVE DEFENSES
COMES NOW the Defendant, Everglades Hospitality Resorts, LLC and enters this its
Answer to Plaintiff's Complaint and states:
1. Admit.
2. Admit.
3. Without knowledge as to Plaintiffs status under the ADA.
4. Admit.
5. Admit.
6. Admit.
7. Admit.
8. Admit.
9. Without knowledge as to Plaintiff's patronage. Defendant has resolved or is in the
process of resolving any ADA violations that may exist on the website.
10. Without knowledge.
11. Without knowledge as to Plaintiff's patronage. Defendant has resolved or is in the

process of resolving any ADA violations that may exist on the website.
Case 2:19-cv-00472-JES-MRM Document 12 Filed 08/16/19 Page 2 of 2 PagelD 28

12.

13.

14.

15.

16.

Deny. Defendant has resolved or is in the process of resolving any ADA violations that
may exist on the website.
Deny. Defendant has resolved or is in the process of resolving any ADA violations that
may exist on the website.
Without knowledge.
Admit. Defendant has resolved or is in the process of resolving any ADA violations that
may exist on the website.
AFFIRMATIVE DEFENSES

Defendant, prior to the conclusion of this action, will voluntarily remediate any existing
ADA violations and accordingly there will be no remedy available to Plaintiff as the
Court is limited in the action to the remedy of an injunction and the Court will not order
Defendant to undertake measures that Defendant has voluntarily undertaken.

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

email to Drew Levitt at DML2@bellsouth.net and Lee Sarkin at Isarkin@aol.com this

[Gf _ day of aga 2019.

DUNCAN & ASSOCIATES, P.A.
Attorneys for Defendant

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